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                         UNITED STATES DISTRICT COURT
                     IN AND FOR THE DISTRICT OF WYOMING

   STEPHANIE WADSWORTH,
   Individually and as Parent and Legal
   Guardian of W.W., K.W., G.W., and        Case No.: 2:23-cv-00118-KHR
   L.W., minor children, and MATTHEW
   WADSWORTH,

                     Plaintiffs,

                v.

   WALMART, INC. and JETSON
   ELECTRIC BIKES, LLC,

                Defendants.

  PLAINTIFFS’ MOTION FOR ADMISSION TO APPEAR PRO HAC VICE

      Pursuant to Local Rule 84.2(b), Plaintiffs Stephanie Wadsworth,

Individually and as Parent and Legal Guardian of W.W., K.W., G.W., and L.W.,

minor children and Matthew Wadsworth, by and through their undersigned

counsel, respectfully submit the following Motion to grant attorney Andrew F.

Knopf permission to appear pro hac vice.

   1. I, Taly Goody, an attorney with Good Law Group, P.A., 58 Malaga Cove

      Plaza, Palos Verdes Estates, CA 90274, Email: taly@goodylawgroup.com,

      telephone number (310) 893-1983, am counsel for the Plaintiffs in the above-

      captioned matter.

   2. I, Taly Goody, certify I am a member in good standing with the Wyoming

      Bar Association and the U.S.D.C. District Court of Wyoming Bar. My
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      Wyoming Bar Number is 8-6737. I was admitted to practice in the District

      Court of Wyoming on June 30, 2023.

   3. Movant, Andrew F. Knopf, is an attorney with Paul Knopf Bigger, 1560 N.

      Orange     Avenue,     Suite    300,       Winter   Park,   FL   32789,      Email:

      andrew@pkblawfirm.com, telephone number (407) 622-2111.

   4. To the best of my knowledge and belief, Mr. Knopf is of good moral

      character. He is an attorney duly licensed and in good standing with the

      Florida State Bar, admitted on September 18, 2003. He has never been denied

      pro hac vice admission or had admission revoked in any court. Mr. Knopf has

      never been disciplined or sanctioned by any court.

   5. As local counsel, I affirm that I shall be fully prepared to represent the client

      at any time, and in any capacity.

      ACCORDINGLY, Plaintiff respectfully moves the Court to enter an Order

permitting Andrew F. Knopf to appear in this matter pro hac vice.

Date: February 5, 2025                            Respectfully Submitted,

                                                  /s/ Taly Goody, Esq.
                                                  TALY GOODY, Esq.
                                                  Wyoming Bar No.: 8-6737
                                                  GOODY LAW GROUP
                                                  58 Malaga Cove Plaza
                                                  Palos Verdes Estates, CA 90274
                                                  Telephone: (310) 893-1983
                                                  Primary Email:
                                                  Taly@GoodyLawGroup.com



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                                              ANDREW F. KNOPF, ESQ.*
                                              Florida Bar No.: 658871
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                                              Email: teamAFK@pkblawfirm.com
                                              *Pro Hac Vice Pending
                                              Counsel for the Plaintiffs


                           CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on February 5, 2025, a true and correct copy of

the foregoing was electronically filed with the Clerk of Court using the CM/ECF

system, which will send a notice of electronic filing to all counsel of record.

                                                    /s/ Taly Goody
                                                    Taly Goody




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